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       Annoamceanent 0B-I9                                                  August 6, 2008


       Amends these Guides: Sewicing


       New F'oreclosure and Bankruptcy Attortney Network und
       Attornoeyts' Fees and Costs


       IntroduLcttion

       From tinLe to time, Fannie Mae reviews its default-related procedures
                                                                                 to evaluate their
       effectivenesrs and to identi$, changes that may be appropriate. Based
                                                                                  upon the latest
       review, Fannie Mae is creating a new network of retainid utto*"y, to handle
                                                                                         all Fannie
       Mae foreclosure and bankruptcy matters (as well as post-foreclosure legal proceedings
       and activitiros). The new network will initially include 31 jurisdiciions, with
                                                                                                the
       expectation that additional jurisdictions will be added over time. The
                                                                                new network will
       fo_ster a tnore disciplined, end-to-end approach to de:fault management;
                                                                                   facilitate more
       effective management of fees, costs, quality, and. repo.rting to Fannie Mae;
                                                                                     and facilitate
       enhanced loss mitigation efforts by network attornerys. To achieve these
                                                                                        objectives,
       Fannie Mtae will now require that servicers refer foreclosures and bankruptcy
                                                                                        cases only
       to attorneys included in our network (in applicable jurisdictions). Fanni" -Mu. is also
       updating ther provisions of the Servicing Guide governing foreciosure and bankruptcy
       attorneys'fees.


       New Man rn_atqly_Nefwo       rk Structu re
       servicing Gaide, Part vIII, Section 104.02: Fannie Ntae-Retained
       Attorneys/Trustees; and Announcement 07-09: Fannie Mae-Retained Bankruptcy
       Attorneys




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                                                                                       Exhibits p.000081
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       Affected .Iu risdictions
       Fannie lviae is creating a new mandatory nefwork <lf retained attorneys to handle all
       foreclosure ancl bankruptcy matters relating to conventional or government mortgages
       held in its portlblio or that are part of an MBS pool tlhat has the special servicing option
       or a shared-risk MBS pool for which Fannie Mae marliets the acquired properfy.

       Under thLe new structure, Fannie Mae will post on eFannieMae.com a list of attorneys in
        each jurisdiction who are eligible to receive foreclosure and bankruptcy referrals relating
       to Fanniie Mae loans (the "Retained Attorney Listl") and an effective date for the
       mandatory use of the attorneys. The initial Retained r\ttorney List includes attorneys for
       the first 31 jurisdictions, and is effective for mandzLtory use on October 1,2008 (the
        'oeffective date"). The Retained Attorney List will be updated with additional
       jurisdicti.ons, and attorneys may be added or removed from the list from time to time.
        Servicers are responsible for checking the Retained Attorney List on the Web site to
        ensure they are using the most current list.
                                 Initial Retained Attornev Jurisdictions
        Alabama          Hawaii        Minnesota                 Oklahoma            Washington
        Arizona          Illinois      Missouri                  Pennsylvania        Wisconsin
        California       Indiana       New Hampshire             Puerto   Rico       Virsinia
        Colorado         Louisiana     New Jersey                I{hode Island
        Connecticut      Maryland      New York                  Iiouth Carolina
        Florida          Massachusetts North Carolina            lfennessee
        Georgia          Michigan Ohio                           lfexas


        Referral iFlequirements
        For jurisdictionLs that are identified on the Retained ,A,ttorney List, servicers are required
        to direct all ne,w Fannie Mae foreclosure and bankuptcy referrals to a retained attomey
        on or after the posted effective date with the exception of the two scenarios noted below.

        Exceptions:
        r   Special guidelines apply for foreclosures in the states of Arizona, California, and
            Waslnington (see section below).
        r   If a llbreclorsure referral is made before the effecti've date to an attorney that is not on
            the Fletained Attorney List, that attorney may handle any subsequent bankruptcy that
            arises b,efore completion of the foreclosure or reinstatement of the loan if the attorney
            has the necessary qualifications.

       Foreclosurer and bankruptcy referrals made prior to the effective date for the applicable
       jurisdict:ions may remain with the original attorneys to whom they were referred.


        In all cases, servicers must advise the attorney to wh'om the referral is made that Fannie
        Mae owns or securitizes the mortgage being referred. The attomey to whom a foreclosure
        referral is rnade will handle any resulting bankruptcli case, and the attomey to whom a

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                                                                                           Exhibits p.000082
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        bankrupx;cy refbrral is made will handle any foreclosure following resolution           of   the
        bankrupl;cy case, unless Fannie Mae approves a deviation from this policy.

        Diversiification of Retained Attorneys
        In order to limit risks arising from the concentration of the legal work relating to Fannie
       Mae's drllirLquent loans in a single law firm in a jurisdiction, Fannie Mae urges servicers
       to diversi$r their referrals of Fannie Mae maffers among two or more law firms in each
       jurisdiction, Fannie Mae will monitor the concentration of its legal work and reserves the
       right to suspend the referral ofnew cases to attorneysr (or to reassign previously referred
       cases) in order to regulate concentration, capacity, per.flormance, or for other reasons.


        Speciall G uidelines fo r Arizona, Califo rnia, :ln d Washin gton

        For nonjudicial foreclosures in Arizona, California, and Washington, servicers may
        continue to *6,ploy trustees of their choice. The Retained Attorney List will not include
        corporatlions that are authorized to conduct foreclosures as trustees in these states. To
       facilitate continLuity in the transition of files from foreclosure through REO closing, when
       a referral is marde to a trustee in one of these three sl.ates, the servicer must require that
       the trustee ,obtaLin evidence of title for the foreclosure from a Fannie Mae-approved title
       company, 'whi,ch will subsequently represent Fannie Mae's interests as seller in
       connecti,on witlh the REO closing. The list of Fannie Mae-approved title companies is
       posted on 5:FannieMae.com. All legal matters in Arizona, California, and Washington,
       including iudicial foreclosure proceedings, bankruptcy cases, and litigation, must be
       refened to zrttomeys on the Retained Attorney List.

       Junisdiction$ Not on the Retained Attorney List

       For jurisdic,tiorLs that are not included on the Retain,ed Attorney List, Fannie Mae will
       continue to rely upon servicers to select and retain qualified attorneys of their choice to
       handle Fannie lvlae foreclosure and bankruptcy matters in accordance with ow Servicing
       Guide requirem.ents.

        Specian Guidlelines     for Nevada
       Although Fannie Mae is not yet identifuing retained attorneys for Nevada, servicers that
       refer nonjudicial foreclosures to trustees in Nevada must require that the trustee
       obtain evidence of title for the foreclosure from a Fannie Mae-approved title company,
       which will r;ubsequently represent Fannie Mae's interests as seller in connection with the
       REO closing. Until Fannie Mae identifies retained attomeys for Nevada, Fannie Mae
       will continuLe to rely upon servicers to select and retairr qualified attorneys of their choice
       to handltl Fanniie Mae foreclosure and bankruptcy matters in Nevada in accordance with
       orJr S erv i c ing Gtuide requirements.




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       Servicer ltesponsibility for Monitoring Retained Attorneys

       The servicer is responsible for monitoring all aspects of the performance of any retained
       attOrney to whom it makes a refenal, including loss rnitigation activities, cure rates, and
       tinreline performance. The servicer will not be require,d to reimburse Fannie Mae for any
       losses iircurred because the retained attorney failed to properly meet his or her
       responsihilities, nor will the servicer be subject to the imposition of compensatory fees
       related to d,eficiencies in the performance of the retained attorney. This applies as long
       as the lossers or deficiencies are unrelated to any failure by the servicer to monitor or
       ma.nage fhgr performance of the retained attorney orr failure of the servicer to timely
       provide required or requested documents, informat:ion, or signatures to the retained
       att0rney.

       Relationship with Retained Attorneys

       Each retain,ed attorney         will     execute an engagement letter   with Fannie Mae which will,
       among other things:

       o    document the existence of an attorney-client relationship with Fannie Mae;
       o    acknow.[edge Fannie Mae's right to communicate directly with the attorneys and
            monitor and/or audit the attorneys' handling of its roases;
            specifu the attorney's fees, impose limits on costs, and prohibit the payment of
            outsouroing or referral fees; and
            require attorneys to directly notify Fannie Mae of nonroutine litigation and certain
            other miltters.

       In most cases, the retained attorney will also represent the servicer (and may have signed
       a separate engagement letter with the servicer). Fannie Mae's engagement letter with the
       attorney will provide that in the event a conflict of interest arises during the course of
       representinSS both the servicer and Fannie Mae, the attorney must notify both the servicer
       and Fannie Mae of the conflict, and Fannie Mae and the servicer will work tosether to
       resolve tkre rlonflict.


       L1111111111111111'ovisians-:\BBlieable   to All Fannie Mae Jioreclosure and Bankruptcv
       Re,@             (Mandato ry Retained and Service r-Retain ed Referrals)

       Non routirne        Litigation
       Servicing (iuide, Part III, Section 503: Nonroutflne Legal Actions; and Part                    VIII,
       Ser:tion .101: Routine ys. Nonroutine Litigation

       Fannie Mae is modiffing the notification requirements related to nonroutine litigation.
                                      VI[, Section i01 .tor examples of nonroutine litigation.
       Refer to the Servicing Guide, Part
       (Additional examples include "show cause orders" or proceedings and motions for
       sarLctions.)




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       When a senvicer receives notice of a nonroutine action. that involves a Fannie Mae-owned
       or Fannie Mae-securitized mortgage or that will otherwise affect our interests --
       regardless of whether Fannie Mae is also named asi a parfy to the action -- the servicer
       must immediately contact Fannie Mae's R,eplional Counsel                   via    e-mail to
       !@9-.litigation@fanniemae.com.         Fannie  Mae   re,serves the right to select counsel to
       harrdle nonroutine litigation and may select attorneys who are not on the Retained
        Atlornev List.


        Al;torneys' Fees and Expenses
       Servicing lGuide, Part Vil, Section 401.03: Allovrable Attorney Fees; Part VIII,
       Serction 10d.03: Attorney (or Trustee) Fees, and lChapter 1, Exhibit 3: Attorney's
       and Trustee's Fees

        Servicers' Duties

        Al[  attorne'ys must submit their statements for all fees and expenses directly to the
        servicer. Fa.nnie Mae reminds servicers of the Servici;ng Guide 's requirements goveming
        attorneys' I'ees, including the requirements that fee;s charged to borrowers be permitted
        under the terms of the note, security instrument, and applicable laws and be prorated to
        reasonably relate to the amount of work actually perliormed.

        Before requLesting that Fannie Mae reimburse the servicer for fees paid to an attorney, the
        servicer muLst review and approve the attomeys' fees and costs to ensure that they are in
        compliance with the guidelines. Servicers must have appropriate policies, procedures,
        and controls to ensure compliance with our require.ments, and Fannie Mae will monitor
        ther effectiv,eness of the servicers' policies, procedures,, and controls.
        The servicer, its agents, or any outsourcing firm irt employs may not charge (either
        directly or indirectly) any outsourcing fee, referral fee, packaging fee, or similar fee to
        any attorne'y or trustee in connection with any Fannie Mae loan. Moreover, the amount of
        any fee charged to any attorney or trustee for technology usage or electronic invoice
        submission must be reasonable in relation to the benefit received bv the attornev.

        Updated Maximum Allowable Foreclosurer                lFees

        Atfachment 1 to this Announcement, which replaces the eurrent exhibit in the Servicing
        Guide, reflects the maximum allowable attorney/trustee fees that Fannie Mae will
        reimburse for work related to foreclosures of whole mortgages, participation pool
        mortgages, and MBS pool mortgages serviced under the special servicing option for
        maffers refe,rred on or after October 1. 2008.




        Senvices llncluded in Maximum Allowable Forerclosure Fees

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       Fannie Mae is revising Part VI[, Section 104.03 of the Servicing Guide to clarify what
       services are included within the scope of the maximurn allowable foreclosure fee in each
       jurisdiction.

       Juclicial Foreclosures: In general, the maximum allowable foreclosure fee is intended to
       cover all services that are typically required to be performed by foreclosure counsel in the
       prosecution of a judicial foreclosure in accordance witlh local law. These steps include:

       1.      Ordering title
       2.      Reviewing title reports and exceptions
       3.      Drafting Complaint, Summons, Lis Pendenl, and other papers necessary to
               initiate the foreclosure action
       4.      Filing the foreclosure Complaint and Lis Pendens
       5.      Executing all steps necessary to obtain serl'ice of process on all defendants,
               including review of process server affidavits, obtaining court permission to serve
               by publication, and referral and tracking of putrlished notices
        6.     Preparing legal papers for entry of foreclosure judgment, whether by default or
               through summary judgment process
        7.     Obtaining judgment of foreclosure, including one court appearance
        8.     Preparing all legal papers to conduct the foreolosure sale
        9.     Conducting, or alranging for sheriff or other third party to conduct, the
               foreclosure sale
        10.    Obtaining judicial confirmation of foreclosure sale, where required by local law
        11,    Preparing all legal papers necessary to convey title to Fannie Mae or a suecessful
               third-party bidder

        Nonjudicial Foreclosures: As with judicial foreclosures, the maximum allowable
        foreclosure fee for nonjudicial foreclosures is inten.ded to cover all services that are
        typically required to be performed by foreclosure trusitee or counsel in the completion of
        a nonjudicial foreclosure resulting in title transferring from the borrower to the highest
        bidder at the foreclosure sale, in accordance with locall law. These steps include:

        1.      Ordering title
        2.      Reviewing title reports and exceptions
        3.      Preparing all necessary legal papers to initiate the nonjudicial foreclosure process,
                including Substitution of Trustee, Notice of Default, and Notice of Sale
        4.      Recording the necessary documents in the appropriate county recorder's office
        5.      Executing all steps necessary to obtain servioe ofprocess on all persons entitled to
                notice, including review ofprocess server aflidavits and referral and tracking of
                published notices
        6.      Publishing and posting the requisite notices as required by local foreclosure law
        7.      Preparing all legal papers to conduct the forecllosure sale
        8.      Conducting, or affanging for sheriff or other third party to conduct, the
                foreclosure sale




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       9,        Preparing and filing a report of sale with tthe local court or recorder's office,
                 where required by local law
        10.      Preparing all legal papers necessary to convey title to Fannie Mae or a successful
                 third-party bidder

       For both judicial and nonjudicial foreclosure actions, the maximum allowable attorney or
       trustee fee for nonjudicial foreclosure proceedings does not include the cosls involved in
       such a proceeding, such as title charges, filing feer;, recordation fees, process server
       expenses, and publication costs, as applicable.


        Arlditional Legal Services
        Fannie Mae     will reimburse the servicer for reasorrable attorneys' fees necessary to
        resolve issues caused by unexpected events, unless they are due to (1) a breach or alleged
        breach of selling warranties or representations or orip;ination or selling activities; (2) the
        lender's failure or alleged failure to satisfy its dutieri and responsibilities as a servicer; or
        (3) actual or alleged effor or lack of diligence on the part of a non-network counsel or a
        trustee retained by the servieer. Events which ma;i require additional legal services
        include, but are not limited to, the following:

        a     additional court appearances due to borrower 6slsrf'or court-initiated continuances;
        o     motions to shorten redemption periods (for insltance, when a property has been
              abandoned);
              litigation activities, including discovery practice, motions, trial, and           appeal,
              engendered by borrower defenses not related to ,origination or servicing of the loan or
              the acts or omissions of a counsel or trustee seleoted and retained by the servicer;
        a     probate court practice required due to the death of the borrower or co'borrower;
        a     intervention by other claimants, including taring authorities         or homeowners or
              condominium associations; and
              conducting a closing to complete a sale to a thircl-party bidder.

        All   requests for approval of excess fees by Fannie Mlae must be submitted via e-mail to
        exces s_fee_req uest@fanniemae. com.


        If additional legal or trustee services are required to protect Fannie Mae's interest and
        these legal or trustee services are not within the scope of services contemplated by the
        milximum allowable foreclosure fee and are required due to a breach or alleged breach of
        selling warranties or representations or origination or selling activities or to the lender's
        failure or alleged failure to satisfy its duties and respc,nsibilities as a servicer, Fannie Mae
        requires the servicer to pay counsel or the ffustee a reasonable fee for their services.
        Some of these events may include. but are not limiterd to:

        r     Title curative worko inrfuOing judicial proceedinLgs to eliminate recorded liens that are
              prior in time; judicial proceedings to account fcrr missing intervening assignments;
              and legal analysis and communications with prkrr lien holders and title companies.



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       .   Litigation activities, including discovery practice, motions, trial, and appeal,   caused
           by borrower defenses related to origination or servicing of the mortgage            loan,
           including payment dispute allegations.


       Updated Maxf,mum Allowable Bankruptcy                  lFees

       Servicing Guide, Part VII, Section 401.03: Allowabl,e Attorney Fees

       Atl.achment 2 to this Announcement outlines the marimum afforneys' fees that Fannie
       Mae    will   reimburse   for routine services provided by counsel in connection with
       barrkruptcy matters referred on or after October 1, 200i8.


       As a reminder, the following Fannie Mae policies continue to apply:

       o   The schedule of maximum allowable attorney ftes for bankuptcy actions applies to
           all attorneys, whether or not the attorney is a Fannie Mae-retained attorney or
           servicer-retained attorney.
       o   The bankruptcy fee schedule covers the customary and routine legal services
           performed in each fype of legal service. Generally, Fannie Mae will not reimburse
           the servicer for any attorneys' fees that exceed the scheduled amounts unless prior
           approval was obtained before incurring the fee. To obtain Fannie Mae's prior
           approval, a written request must be submitted by e-mail to
           exggls_fee request@fannie .


       Note
       When legally permissible, the servicer must preserve the borrower's obligation to
       reimburse the servicer for attorneys' fees paid for banLkruptcy actions in a way that is in
       aocordance with local bankruptcy rules and all applicable law (particularly since local
       bankruptcy rules and procedures for approval of attomeys' fees and other applicable law
       may vary from one jurisdiction to another). One ,way of preserving the borrower's
       obligation might be to make sure that the borrower's proposed bankruptcy plan provides
       for the payment of all legal fees. Another way of pleserving the borrower's obligation
       might be to include the fees as part of the total indebtedness (if applicable law allows that
       to be done without obtaining approval from the bankruptcy court). If it is not legally
       permissible to collect bankruptcy attomeys' fees and costs from the borrower, Fannie
       Ivfae will reimburse the servicer for such fees and costs to the extent that services to
       protect Fannie Maeos interests were actually rendered and the fees and costs charged for
       them are reasonable and necessary and comply with our guidelines.


       Existing Servicing Gaide Provisions

       All of the provisions of the Servicing Guide that rellate to foreclosure and bankruptcy
       attomeys and trustees will continue to apply under the new structure, unless expressly
       modified bv this Announcement.


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       Effective Dates

       {s  previously stated, servicers must refer foreclosure or bankruptcy matters to attorneys
       that appear on the Retained Attorney List for the initial jurisdictions on or after October
       1, 2008. The new foreclosure and bankruptcy fee schedules are effective for cases
       roferred for foreclosure or bankuptcy services on and after October 1, 2008. (Fees for
       cases referred prior to October 1, 2008 will be based on the current fee schedules in the
       Sprvicing Guide effective as of the date of referral.)


                                                *{.*{<i.X.{.




       Servicers should contact their Servicing Consultant, Portfolio Manager, or our National
       Servicing Organization's Solution Center at 1-888-326-6438 if they have any questions
       about Announcement 08-19.




       Michael A. Quinn
       Senior Vice President
       Sin gle-Family Risk Officer




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                                    Attachment      I
        Sgwicing Guide, Part VI[, Chapter 1, Exhibit 3: Attorney's and
        Trustee's Fees (Effective October 1,2008)

             State                    Nonjudicial         Judicial
                                      Foreclosure        Foreclosure
             Alabama                     $600'          On Approval2
             Alaska                     $1,200          On Approval2
             Arizona                     $625           On Approval2
             Arkansas                    $600               $7s0
             California                  s6503          On Approval2
             Colorado                    $875           On Approval2
             Connecticut                 NiA              s12504,5
             Delaware                    N/A                s9s0
             District of Columbia       s600r,6         On Approval2
             Florida                     N/A              $1,3001,7
             Georgia                    $600I           On Approval2
             Guam                       $i,200          On Approval2
             Hawaii                     $1,100          On Approval2
             Idaho                       s600           On Approval2
             Illinois                    N/A               $1,300
             lndiana                     N/A               $1,100
             Iowa                        s550               $850
             Kansas                      N/A                $850
             Kentucky                    N/A               $1,100
             Louisiana                   N/A               $1,050
             Maine                       N/A               $1,250
             Maryland                   $9501,6         On Approval2
             Massachusetts               N/A              $1,3004
             Michigan                    $6s0           On Approval2
             Minnesota                  s7008           On Approval2



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             State                Nonjudicial       Judicial
                                  Foreclosure      Foreclosure
             Mississippi             $5501        Qn Approval2
             Missouri                 s6s0        On Approval2
             Montana                  s600        On Approval2
             Nebraska                 s600        On Approval2
             Nevada                   $600        On Approval2
             New Hampshire            $e00        On Approval2
             New Jersey               N/A               $1,300
             New Mexico               $600               $900
             New York                s800e          $   1,4004'
                                                                     e


             North Carolina           $800        On Approval2
             North Dakota             N/A                $950
             Ohio                     N/A               $1,350
             Oklahoma                 NiA               $ 1,1   00
             Oregon                  $675         On Approval2
             Pennsylvania             N/A           $1,30010
             Puerto Rico              N/A           $1,1004'1r
             Rhode Island            $900         On Approval2
             South Carolina           N/A            $1,0501
             South Dakota             N/A                s9s0
             Tennessee               $600         On Approval2
             Texas                   $600         On Approval2
             Utah                    $600         On Approval2
             Vermont                  NiA               s95012
             Virgin Islands           N/A            $1,100
             Virginia                $600         On Approval2
             Washington              $67s         On Approval2
             West    Virginia       $5501'6       On Approval2
             Wisconsin                N/A            $1,200
             Wyoming                 $600         On Approval2




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             pOtnotes:
         I
             lfhis fee covers the combined attorney,s and notaryos fees.
        2
             llecause this is not the preferred method of foreclosure, Fannie
                                                                                  Mae must approve its
              use prior to initiation. Fannie Mae will provide pror:edural instructions
                                                                                               and- applicable
              llees at the time approval is granted.
             llhis fee applies to completed foreclosures. If the mrcrtgage is reinstated after
             recordation of the Notice of Default (but before maiHn! of tnr
                                                                                  Notice of Sale), the
             maximum fee is $300 or the maximum allowed by statute, whichever is
                                                                                               less.'if tn"
             mortgage is reinstated after mailing of the Notice of Sale but before
                                                                                         the Trustee,s Sale,
             1;he maximum fee is $500 or the maximum allowed
                                                                   by statute, whichever is less.
             An additional
                  aodltronal $200
                              S200 will be permitted      the nrn,".rrr/
                                           oermitted when fhe properfy ic   sold rn
                                                                         is cnlrt to ao +t i-.r party
                                                                                        third         ^. the
                                                                                                ^^+-. and
             attorney must perform additional work to complete the transfer of
                                                                                      title tolhe
              successful bidder.
             llhis fee applies to Strict Foreclosures. If the court orders a Foreclosure by Sale,
                                                                                                     the
              fee will be $1,500.
        6
             llhis fee covers both the attorney's fee and the truste,e's commission (or statutory
        7                                                                                             fee).
             l'his fee includes reimbursement for any fee for ther irttorney's certificate of title.
        8
             lhis   fee increases to $1,100 for any case in which the attorney provides services
                                                                                                  for
             "proceedings subsequent" that involve registered lamd.
             In New York, the nonjudicial foreclosure process is to be used only in connection
             nnnaa+o+i"^          l^^--  Tt^ ^ f-, ! t r
                                                                                                   with
             cooperative    share
                            -L^-^ loans. The fee includes  all steps irr the foreclosure process,
             including the transfer of the stock and the lease for an occupied cooperative unit.
                                                                                                   A
             fee of $2,000 will be permitted for judicial foreclor;ures in the City ofNew york
                                                                                                  and
             on Long Island (Nassau and Suffolk Counties).
        10
             This fee covers all legal actions necessary to compl.erle the standard foreclosure in
             I'ennsylvania, including motions to postpone or relist a sale and motions to reassess
             aramages.
        ll
             In addition to the allowable foreclosure fee, Fannie lvlae will pay anotary fee of
                                                                                                        $150
             for completed foreclosures. However, if a deed ofjurdicial saie cannot be executed
             c_ontemporaneously with the judicial sale, a $300 nol;ary fee will be paid.
       tz
             This fee covers all cases in which strict foreclosure
                                                         ,r. evrurur s is allowed; geneially,
                                                                       r5 i1u0\ry9u; generally, Ioreclosure
                                                                                                foreclosures
             in which the mortgagee can establish there is no equilty in the property. For all other
             cases in which judicial foreclosure is required, a fee of $1,200 wiit be permitted.




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                                                Attachment       2]



                                                                          Allowable Bankruptcy
                                                                          1,2009)




       F
       I
           I a mortgage is not 60 days or more past due, then tlhe servicer should prepare the proof
             lclaim and/or review the plan (in a chapter 13 casie). If a mortgag. i, nbt 60 days
                due and the servicer believes that an attomey slrould review a plan (in a
                                                                                            Chapter 13
                ) due to its potential effect on a borrower's obligations, then the attorney or servicer
                 ld submit an excess fee request for plan review.
                 for chapter 1 1 or chapter 12 cases, adversary proceedings, or any other fees not
                     in the above schedule must be submitted as an excesi fee request.

            d[itional Notes:
            nie Mae will not reimburse bankruptcy fees or costs for the following without prior
            lss fee approval:



       A1nounc"rn"nt 08-19                  Attachment 2                                         Page   1




                                                                                            Exhibits p.000093
Case 8:16-cv-01142-CJC-KES Document 91-3 Filed 01/16/18 Page 14 of 18 Page ID
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         nnortgages referred when the borrower was less
                                                          than 60 days past due per the terms   of
         tJhe mortgage (or less than 60 days past due under
                                                            the bankruptcy planj;
         PACER and mailing (preparation and postage);
         loan document retrieval; or
         a{otions for Relief from Stay in Chapter 7 cases when filed more
                                                                          than 60 days from the
         bankruptcy petition date.




         nourlcornont 08-19             Affachment 2                                       Page2


                                                                                     Exhibits p.000094
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                                                                 Exhibits p.000095
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                                                                 Exhibits p.000096
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